4:13-cr-03115-JMG-JMD          Doc # 139   Filed: 04/24/14   Page 1 of 1 - Page ID # 442




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                             4:13CR3115
      vs.
                                                    MEMORANDUM AND ORDER
JUSTIN LEE ORSTAD,
                      Defendants.


       For reasons unrelated to the defendant’s motion, the Marshal will be transferring
the defendant to CCA Leavenworth pending sentencing. The defendant was advised of
this anticipated location change.


       Accordingly,


       IT IS ORDERED that in light of the plan to transfer that is already in place , and
the court’s lack of authority to order a specific custodial placement, the defendant’s
motion to review placement is denied as moot.


       April 24, 2014.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
